            Case 9:20-cr-00032-DWM                Document 188-19           Filed 02/25/22        Page 1 of 9




415            SMS - Sent                                                                                               SMS
      Description: (No description)
      From: Me <+18123058776>                                                     Time stamp
                                                                                  (Device time       11/25/2018 8:54:20 PM
                                                                                  +00:00):
      To: Chief          <+               >

      Remote party: Chief            <+               >

      Direction: Outgoing                     Read status: Read                       Deleted: No

      He just got caught and it's probably time to hang up the gloves. I worked out with him yesterday morning and he
      looked really good and felt really strong but I could tell he was just moving a little slow and tentative to engage.

416            SMS - Inbox                                                                                              SMS
      Description: (No description)
      From: Chief             <+              >                                   Time stamp
                                                                                  (Device time       11/25/2018 3:57:16 PM
                                                                                  +00:00):
      To: Me <+18123058776>

      Remote party: Chief            <+               >

      Direction: Incoming                     Read status: Read                       Deleted: No

      I would think no time to screw with      after last night.
      Did he get caught or is he just done? Press sounds like he shouldn't have fought?




                                                                                                                 309 115
                                                                                                           20-32-M-DWM
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-19   Filed 02/25/22 Oxygen
                                                                                             Page     2 of 9
                                                                                                  Forensic® Detective - 11.6.2.100

496                 SMS - Inbox                                                                                            SMS
        Description: (No description)
        From: Chief                <+                 >                           Time stamp
                                                                                  (Device time        11/24/2018 4:48:49 PM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+             >

        Direction: Incoming                           Read status: Read               Deleted: No

        What should I tell the judge Monday when I talk to him about




                                                                                                                              138
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                              Document 188-19   Filed 02/25/22 Oxygen
                                                                                                 Page     3 of 9
                                                                                                      Forensic® Detective - 11.6.2.100

510                 SMS - Sent                                                                                                 SMS
        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time        11/23/2018 8:25:16 PM
                                                                                      +00:00):
        To: Chief               <+                    >

        Remote party: Chief                    <+                 >

        Direction: Outgoing                               Read status: Read               Deleted: No

        Thank you sir.

511                 SMS - Inbox                                                                                                SMS
        Description: (No description)
        From: Chief                  <+                   >                           Time stamp
                                                                                      (Device time        11/23/2018 8:24:25 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+

        Direction: Incoming                               Read status: Read               Deleted: No

        You bet have a good flight

512                 SMS - Sent                                                                                                 SMS
        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time        11/23/2018 8:23:58 PM
                                                                                      +00:00):
        To: Chief               <+                    >

        Remote party: Chief                    <+                 >

        Direction: Outgoing                               Read status: Read               Deleted: No

        Yikes. This is bad news. I will talk to her today. Thanks for the heads up.




                                                                                                                                  142
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-19   Filed 02/25/22 Oxygen
                                                                                             Page     4 of 9
                                                                                                  Forensic® Detective - 11.6.2.100

513                 MMS - Inbox                                                                                           MMS
        Subject: (No subject)
        From: Chief                <+                 >                           Time stamp
                                                                                  (Device time        11/23/2018 8:21:47 PM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+             >

        Direction: Incoming                           Read status: Read               Deleted: No

        ￼Hi Matt I wanted to email this to you, but our system is down for maintenance. So I took a screenshot of it. I
        thought this was taken care of but obviously it's not. The only way it can be taken care of is by a personal
        appearance bond is currently $5,000. I apologize but one of the clerks who has since been fired screwed this up
        and the judge is demanding a personal appearance please let me know if I can do anything else I'll try have a good
        time


        Attachments (1)




                                    .jpg




                                                                                                                              143
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                              Document 188-19   Filed 02/25/22 Oxygen
                                                                                                 Page     5 of 9
                                                                                                      Forensic® Detective - 11.6.2.100

516                 SMS - Sent                                                                                                 SMS
        Description: (No description)
        From: Me <+18123058776>                                                       Time stamp
                                                                                      (Device time        11/23/2018 5:53:40 PM
                                                                                      +00:00):
        To: Chief               <+                    >

        Remote party: Chief                    <+                 >

        Direction: Outgoing                               Read status: Read               Deleted: No

        No worries!

517                 SMS - Inbox                                                                                                SMS
        Description: (No description)
        From: Chief                  <+                   >                           Time stamp
                                                                                      (Device time        11/23/2018 5:44:53 PM
                                                                                      +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+                 >

        Direction: Incoming                               Read status: Read               Deleted: No

        Thanks for yesterday we really enjoyed ourselves, you guys are like family. Enjoy your trip. Give our love and
        thanks to        . I will get you that Warrant after I workout




                                                                                                                                  144
               Case 9:20-cr-00032-DWM              Document 188-19           Filed 02/25/22         Page 6 of 9




5601            SMS - Inbox                                                                                             SMS
       Description: (No description)
       From: Chief             <+              >                                     Time stamp
                                                                                     (Device time      3/31/2018 7:23:55 AM
                                                                                     +00:00):
       To: Me <+18123058776>

       Remote party: Chief            <+

       Direction: Incoming                     Read status: Read                       Deleted: No

       My pleasure

5602            SMS - Sent                                                                                              SMS
       Description: (No description)
       From: Me <+18123058776>                                                       Time stamp
                                                                                     (Device time      3/31/2018 7:23:28 AM
                                                                                     +00:00):
       To: Chief          <+               >

       Remote party: Chief             +               >

       Direction: Outgoing                     Read status: Read                       Deleted: No

       Man, that's two favors I owe you. Greatly appreciated. If you stop my wife, feel free to give her a ticket though.
       Lol....you're a good man

5603            SMS - Inbox                                                                                             SMS
       Description: (No description)
       From: Chief             <+              >                                     Time stamp
                                                                                     (Device time      3/31/2018 7:21:58 AM
                                                                                     +00:00):
       To: Me <+18123058776>

       Remote party: Chief            <+               >

       Direction: Incoming                     Read status: Read                       Deleted: No

       Done,




                                                                                                                            1527
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                              Document 188-19   Filed 02/25/22 Oxygen
                                                                                                 Page     7 of 9
                                                                                                      Forensic® Detective - 11.6.2.100

5604                SMS - Sent                                                                                                 SMS
        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time        3/31/2018 7:21:15 AM
                                                                                        +00:00):
        To: Chief               <+                    >

        Remote party: Chief                    <+                 >

        Direction: Outgoing                               Read status: Read               Deleted: No

        If you drop it I will owe you a cold beer. Believe me, she won't say a word or I will hold her while
        waterboards her. They're super close friends of mine and normally stay at my house but I have family here.

5605                SMS - Inbox                                                                                                SMS
        Description: (No description)
        From: Chief                  <+                   >                             Time stamp
                                                                                        (Device time        3/31/2018 7:18:20 AM
                                                                                        +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+                 >

        Direction: Incoming                               Read status: Read               Deleted: No

        If she and he are your friends I have no problem dropping it just tell them not to make it public

5606                SMS - Sent                                                                                                 SMS
        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time        3/31/2018 7:16:44 AM
                                                                                        +00:00):
        To: Chief               <+                    >

        Remote party: Chief                    <+                 >

        Direction: Outgoing                               Read status: Read               Deleted: No

        I'd feel like a shit head asking you to drop a ticket.

5607                SMS - Sent                                                                                                 SMS
        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time        3/31/2018 7:16:22 AM
                                                                                        +00:00):
        To: Chief               <+                    >

        Remote party: Chief                    <

        Direction: Outgoing                               Read status: Read               Deleted: No

        I agree that's a bit much. She's normally a total saint so I'm surprised she was speeding at all. She's mortified and
        was shitting bricks when she told me. I told her she embarrassed me and she got teary eyed and apologized.




                                                                                                                                 1528
                 Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-19       Filed 02/25/22 Oxygen
                                                                                                 Page     8 of 9
                                                                                                      Forensic® Detective - 11.6.2.100

5608                SMS - Inbox                                                                                                SMS
        Description: (No description)
        From: Chief                <+                 >                                 Time stamp
                                                                                        (Device time        3/31/2018 7:16:16 AM
                                                                                        +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+

        Direction: Incoming                           Read status: Read                   Deleted: No

        If u ask

5609                SMS - Inbox                                                                                                SMS
        Description: (No description)
        From: Chief                <+                 >                                 Time stamp
                                                                                        (Device time        3/31/2018 7:16:07 AM
                                                                                        +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+             >

        Direction: Incoming                           Read status: Read                   Deleted: No

        I will

5610                SMS - Inbox                                                                                                SMS
        Description: (No description)
        From: Chief                <+                 >                                 Time stamp
                                                                                        (Device time        3/31/2018 7:14:03 AM
                                                                                        +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+             >

        Direction: Incoming                           Read status: Read                   Deleted: No

        You want me to make the ticket go away?

5611                SMS - Inbox                                                                                                SMS
        Description: (No description)
        From: Chief                <+                                                   Time stamp
                                                                                        (Device time        3/31/2018 7:13:26 AM
                                                                                        +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+             >

        Direction: Incoming                           Read status: Read                   Deleted: No

        75 in a 45 a little much. I thought her husband looked like a fighter




                                                                                                                                 1529
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                              Document 188-19   Filed 02/25/22 Oxygen
                                                                                                 Page     9 of 9
                                                                                                      Forensic® Detective - 11.6.2.100

5612                SMS - Sent                                                                                                 SMS
        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time        3/31/2018 7:11:16 AM
                                                                                        +00:00):
        To: Chief                +                    >

        Remote party: Chief                    <+                 >

        Direction: Outgoing                               Read status: Read               Deleted: No

        I just chewed her ass out for you again. Her and her husband           are here to hang out with us for their spring
        break and for me to do some training with her husband while he's getting ready for a fight. He's a famous UFC
        fighter and is going to karate chop her when he finds out she got a ticket here. She said         gave her the ticket
        and I had to fight off laughing when I said he's the Chief. Haha


5613                SMS - Sent                                                                                                 SMS
        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time        3/31/2018 7:03:51 AM
                                                                                        +00:00):
        To: Chief               <+

        Remote party: Chief                    <+                 >

        Direction: Outgoing                               Read status: Read               Deleted: No

        You just popped                       for speed?




                                                                                                                                 1530
